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                                          No. 24-1411

                        UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT

                     DAVID BONIFACE; NISSANDÈRE MARTYR; JUDERS YSEMÉ,
                                                        Plaintiffs-Appellees,
                                              v.
                                    JEAN MOROSE VILIENA,
                                                        Defendant-Appellant.

            Appeal from the U.S. District Court for the District of Massachusetts,
                    Case No. 1:17-cv-10477; Hon. Allison D. Burroughs

                      PLAINTIFFS-APPELLEES’ RESPONSE BRIEF

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                                JURISDICTIONAL STATEMENT

              The district court had jurisdiction over plaintiffs’ TVPA claims pursuant to 28

       U.S.C. §1331. This Court has jurisdiction pursuant to 28 U.S.C. §1291.

                                        INTRODUCTION

              The Torture Victim Protection Act (“TVPA”) ensures that “torturers and

       death squads will no longer have a safe haven in the United States” by providing

       victims of such human rights abuses a remedy in federal court. S. Rep. 102-249, at

       3 (1991). This is precisely the kind of case the TVPA was designed to redress.

              Defendant Jean Morose Viliena abused his authority as mayor of Les Irois,

       Haiti, by using torture, killing, and other violence to persecute those he perceived as

       challenging his power. He personally led an armed group to commit brutal attacks

       of retaliation on plaintiffs.

              Plaintiff David Boniface, a human rights advocate, was targeted by defendant

       after David spoke before a judge about defendant’s abuse of power. Defendant led

       a group of armed men to David’s house to retaliate. Finding David not at home, they

       killed his younger brother, Eclesiaste Boniface, as a surrogate—first shooting him

       and then crushing his head with a cinderblock. Mourning his brother’s death and

       receiving threats on his own life, David fled Les Irois to live in hiding.

              Plaintiffs Nissage Martyr and Juders Ysemé were targeted by defendant

       because they supported a radio station that broadcasted programs critical of



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       defendant as mayor. Defendant led a group of 30 armed men to attack the radio

       station. Defendant personally beat Nissage and Juders, hitting them repeatedly over

       the head and body. He ordered his associate to shoot them, and his associate obeyed.

       After hospitalization and multiple surgeries, Nissage and Juders survived, but

       Nissage lost his leg, and Juders was left blind in one eye. Juders continues to suffer

       excruciating pain from shotgun pellets that remain embedded in his head and body.

       Like David, Juders fled Les Irois fearing for his life.

             When plaintiffs sought justice in Haiti, defendant fled to Massachusetts to

       escape responsibility for his crimes. From here, he continued to act as mayor and

       direct the same armed group, using violence to intimidate witnesses and thwart

       proceedings in Haiti. He is now a U.S. legal permanent resident in Massachusetts.

             When their efforts to obtain justice in Haiti proved futile, plaintiffs sued

       defendant in federal court under the TVPA. After a seven-day jury trial, including

       testimony from multiple eyewitnesses who saw defendant lead and commit the

       attacks, the jury found defendant liable for the extrajudicial killing of Eclesiaste and

       the torture and attempted extrajudicial killings of Nissage and Juders.

             This Court should affirm that verdict and reject defendant’s laundry list of

       nine arguments attempting to evade accountability.

             Defendant’s factual and evidentiary arguments misstate the record and ignore

       the overwhelming evidence.       The jury’s verdict is supported by testimony of



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       eyewitnesses who saw defendant shoot Eclesiaste, beat Nissage and Juders, and

       order his associate to shoot them. This Court affords considerable deference to the

       jury’s verdict, particularly when based on live testimony.

             Defendant’s legal arguments fare no better. His jurisdictional and statutory-

       interpretation arguments cite no binding authority, relying solely on dissents or

       outlier district court decisions. His attempts to curtail the TVPA’s reach would

       contradict its text and undermine its purpose—an unprecedented step no appellate

       court has taken. Doing so here would render this Court an outlier, creating a circuit

       split and upsetting longstanding practice since the TVPA’s enactment. This Court

       should not be the first to gut Congress’s remedy for torture victims and turn the First

       Circuit into a refuge for torturers.

                                   STATEMENT OF ISSUES1

           1.    Whether the district court correctly concluded it had federal-question

                 jurisdiction over plaintiffs’ TVPA claims.

           2.    Whether the district court correctly concluded the TVPA permits

                 secondary theories of liability.




             1
               Defendant lists 11 questions presented, but two summary questions about
       denial of defendant’s post-trial motions are duplicative. Def.Br.2 (questions 8 and
       9).


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           3.     Whether the jury’s verdict was supported by evidence under a secondary

                  theory of liability.

           4.     Whether the district court correctly concluded control was not a necessary

                  element of any of plaintiffs’ secondary theories of liability.

           5.     Whether the district court correctly rejected defendant’s challenge to his

                  liability for attempted extrajudicial killing.

           6.     Whether the jury’s verdict was supported by evidence that defendant acted

                  under color of law.

           7.     Whether the district court acted within its discretion in admitting Robert

                  Maguire’s expert testimony.

           8.     Whether the district court acted within its discretion in declining to remit

                  the jury’s compensatory damages award.

           9.     Whether the district court acted within its discretion in declining to remit

                  the jury’s punitive damages award.

                                   STATEMENT OF THE CASE

             A.      Factual Background

                     1.     Defendant became mayor through support from KOREGA, an
                            armed community-based group

             During the last 50 years, Haiti has experienced dictatorship, political

       instability, and extreme poverty, leading to the weakening of institutions and

       proliferation of political violence. RA342-345. Political parties have formed


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       alliances with armed community-based groups: the armed groups use violence and

       intimidation to ensure their political patron is elected and stays in power, and in

       return, the patron provides members of the armed group with jobs, resources, and

       impunity to continue their violence. RA349-352.

             In 2006, defendant ran for mayor of Les Irois for a party called MODEREH.

       RA750.    Defendant and MODEREH were allied with an armed group called

       KOREGA. RA354-355; RA413-414; RA483; RA670. Typical of such groups,

       KOREGA enabled its patrons to secure power through “method[s] such as arson and

       surrogate killings and beatings and threats and intimidation.” RA358; RA353-356.

             Defendant won and was mayor from 2007 to 2010, during which time he

       committed the attacks at issue. SA19. Throughout the election and his time as

       mayor, defendant was often seen with his “crew” of KOREGA members, many of

       whom held positions on his mayoral staff. E.g., RA413-414; RA487-496.

                   2.     Defendant led the extrajudicial killing of Eclesiaste Boniface
                          in retaliation for David Boniface’s human rights advocacy

             On July 27, 2007, within a month of becoming mayor, defendant assaulted a

       woman, Ostanie Mersier, over a garbage-collection dispute. RA497-500; RA524-

       525; RA671-673. Ostanie and the city’s sanitation department had disagreed over

       garbage in front of her house. RA497-498; RA524-525; RA672. Defendant argued

       with her and slapped her in the face. RA498-500; RA672-73. He arrested her and




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       took her to a judge’s house, accompanied by his KOREGA crew, including his city

       hall director, Hautefort Bajon. RA385; RA501-502; RA525.

             David Boniface, a human rights advocate trained and certified by the RNDDH

       (National Human Rights Defense Network), also went to the judge’s house. RA381-

       382; RA385; RA501. Defendant demanded that David leave, claiming the dispute

       “ha[d] nothing to do with” human rights. RA386; RA525. But David spoke against

       him and stated that “everyone has rights.” RA386. Defendant stormed out and, once

       outside, threatened David, saying, “Later on I’m coming for you.” RA502-503;

       RA386-387; RA525-526.         After attempting to follow David, defendant and

       Hautefort agreed to “deal with [David] later.” RA388-389; RA541.

             Later that day, defendant carried out his threat. He brought a large group of

       his KOREGA crew to David’s house, armed with guns, machetes, and clubs.

       RA503-504; RA526. Defendant and his crew called for David, but David was at

       church, so they lured his younger brother, Eclesiaste, outside and killed him in

       David’s place. RA505-506; RA527; RA541. Defendant said, “As we don’t find

       David, let’s shoot Eclesiaste, like, in his place.” RA528. One witness testified that

       defendant shot Eclesiaste, and another testified that defendant ordered Hautefort to

       shoot Eclesiaste. RA505-506; RA527-528; RA541-542. After Eclesiaste was shot

       down, one of defendant’s associates dropped a cinderblock on him, crushing his

       head. RA506; RA527. They left Eclesiaste’s dead body in the street. RA506; SA1.



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             David could not return home that night because defendant’s crew “surrounded

       the church so they could kill [him]” too. RA389-390. The next day, David brought

       his brother’s body to the mayor’s office and asked defendant to bury him according

       to local tradition requiring killers to bury their victims. RA391-392; RA509-511.

       Defendant refused and called police to “evacuate” the crowd that had formed; the

       police did so by hitting the crowd with shotguns. RA391-392; RA511.

             David fled Les Irois because defendant’s father publicly threatened “to kill

       [David] to put an end to this story.” RA392. David had to live in hiding, separated

       from his wife and daughters. RA402.

                    3.    Defendant tortured and ordered the attempted extrajudicial
                          killings of Nissage Martyr and Juders Ysemé

             Less than a year later, defendant violently attacked a radio station founded by

       a member of an opposing political party. RA416-428; RA555-557; RA647-648.

       The radio station was located at Nissage’s house, and Juders, a student, frequented

       the station. RA416. Some of the radio’s programming included commentary critical

       of defendant. RA779. Defendant opposed the radio station and attempted to shut it

       down. RA549-554; RA573-574; RA648-651. He called into the radio show and

       threatened to “come and destroy” the station. RA674-675; RA417; RA574-575;

       RA648-649.

             On April 8, 2018, defendant fulfilled his threat. He gathered over 30 of his

       KOREGA crew, including Villeme Duclona, in front of Nissage’s house. RA418-


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       420; RA529-530; RA575; RA653-654. Defendant distributed firearms to the group,

       keeping a handgun for himself and handing Villeme a shotgun. RA417-420;

       RA529-530; RA555-557; RA575-576; RA654-656.

             Defendant ordered his crew to “attack” and led the mob inside. RA656;

       RA423-424; RA530.        While defendant’s crew vandalized the radio station,

       defendant personally and brutally beat Nissage and Juders. RA424-426. Juders

       heard Nissage screaming that defendant was beating him and had “busted [his] head

       with [defendant’s] gun.” RA424-425. After beating Nissage for over a minute,

       defendant moved on to Juders, “grabb[ing] [Juders] by the collar,” “beating [him]

       up,” and “hitting [him] all over [his] face, [his] body.” RA424-426. Defendant then

       dragged Juders outside and threatened to “put a noose around [his] neck” and “hang

       [him] on the public plaza.” RA426. Juders lost count of how many times defendant

       hit him; he felt like “all of [his] bones were cracking.” RA426-427.

             Defendant then ordered Villeme to shoot Juders and Nissage.          RA428

       (“Villeme, shoot him. Shoot Juders.”); RA530-531 (“I ask you to shoot Nissage.

       I’m here for a mission that you need to follow. I asked you to shoot Nissage.”);

       RA657 (“Shoot Nissage. …. I am telling you to shoot Nissage.”). Villeme complied

       and shot them with the shotgun defendant had given him, hitting Nissage in the leg

       and Juders in the head, eyes, arm, and abdomen. RA428; RA531-532; RA544-545;

       RA657-658.



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             Nissage spent four months in the hospital, where his leg was amputated.

       RA434; RA677; SA3. He was in “excruciating pain” and thought he would die.

       RA658; RA676. He could not work with one leg and felt he was no longer “living

       with the dignity of a human being” but “as an animal.” SA25; RA677.

             Juders spent 23 days in the hospital, undergoing multiple surgeries. RA431-

       432; RA532-534. He was left blind in one eye. RA432; RA532. Doctors could not

       remove all the shotgun pellets, and those remaining in his head and body cause him

       “a continuing excruciating headache, nonstop” and a feeling “like [his] skin is

       tearing apart.” RA431-432. He cannot do simple things like bending over without

       a headache. RA432. Like David, Juders received threats and fled Les Irois because

       he feared defendant would kill him. RA455-456. He also lived in hiding for years,

       separated from his family. RA456-457.

                   4.     Defendant fled to Massachusetts to escape responsibility for his
                          crimes and, from here, continued to use intimidation and
                          violence to thwart judicial proceedings in Haiti

             Because of corruption in Haiti’s judicial system and the threat of retributive

       violence, obtaining justice in Haiti against “powerful people” for human rights

       violations is difficult. RA616-635; RA247-251. Plaintiffs filed complaints with

       multiple Haitian authorities, but as detailed below, defendant repeatedly thwarted

       plaintiffs’ attempts to seek justice. RA236-238.




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             Defendant became a legal permanent resident of the United States in 2008 and

       fled to Massachusetts in 2009, following his arrest and subsequent release in Haiti

       pending investigation into the attacks. RA237; RA758; RA799-801. Based here,

       he traveled to and from Haiti, continuing to act as mayor of Les Irois until 2010.

       RA237; SA20. He continued to direct his KOREGA crew, who used threats and

       violence to intimidate plaintiffs and witnesses. RA398-401; RA455-456; RA679.

       For example, when Haitian authorities conducted a trial on the attacks, defendant

       called and threatened to “take care” of David. RA398-399. One of defendant’s crew

       barricaded the road to the courthouse to prevent plaintiffs and witnesses from

       testifying. RA400; RA558-559.

             By fleeing to the United States, defendant avoided participating in the 2015

       Haitian trial in which his associates were convicted. RA799-RA802. That Haitian

       court declared defendant a fugitive. RA801-802; RA237-238.

             In 2018—after the complaint was filed in this case—defendant returned to

       Haiti to participate in his own “trial” on the attacks where he was the sole witness.

       RA803-804. Defendant answered ten questions, none of which addressed the radio

       station attack or Eclesiaste’s killing. RA804-805. The three-page record made no

       mention of “Eclesiaste,” “Boniface,” or “radio.”       RA804-805.        Providing no

       reasoning, the judge declared defendant not guilty. RA803-806 (expert testifying

       defendant’s acquittal was “highly consistent with a corrupt verdict”).



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             Even during this federal litigation, defendant continued to threaten plaintiffs.

       Defendant went to Les Irois and threatened Nissage’s son, Nissandère Martyr: “I

       will shoot you if you don’t calm down.” RA679-680.2 Two men on motorcycles

       searched for Juders while he and David were in hiding. RA455-456; ECF 78-1, at 2.

       Recognizing that plaintiffs “reasonably fear for their safety and are concerned about

       retaliation,” the district court entered five protective orders to prevent defendant

       from harming plaintiffs. ECF 80; ECF 106; ECF 180; ECF 186; ECF 247; see ECF

       78-1; ECF 87-2; ECF 105; ECF 105-1; ECF 178; ECF 242; ECF 243.

             B.     Procedural Background

                    1.     Plaintiffs sued defendant under the TVPA for torture,
                           extrajudicial killing, and attempted extrajudicial killing

             Plaintiffs sued defendant, asserting TVPA claims for the extrajudicial killing

       of Eclesiaste and the torture and attempted extrajudicial killings of Nissage and

       Juders. RA52-56. The TVPA provides a remedy against persons who, “under actual

       or apparent authority, or color of law, of any foreign nation,” “subject[] an individual

       to torture” or “extrajudicial killing.” 28 U.S.C. §1350 note §2(a). Plaintiffs asserted

       both direct and secondary liability. RA49-51 (secondary theories of conspiracy,

       aiding and abetting, solicitation, and directing or ordering).



             2
              Nissage died suddenly one day after defendant was served with the
       complaint; Nissandère was substituted as plaintiff. Add17-19; ECF 87-2, at 1.


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              Plaintiffs also asserted two claims not at issue in this appeal. They alleged

       defendant’s attacks constituted crimes against humanity under the Alien Tort Statute

       (“ATS”), which gives district courts jurisdiction over “any civil action by an alien

       for a tort only, committed in violation of the law of nations or a treaty of the United

       States.” 28 U.S.C. §1350; RA56-58. They also asserted arson claims under Haitian

       law, alleging that defendant ordered his crew to burn down 36 homes, including

       those of David, Nissage, and Juders’s father. RA58-59; see, e.g., RA394-397.

                     2.     The district court denied defendant’s motion to dismiss
                            plaintiffs’ TVPA claims

              Defendant moved to dismiss the complaint, arguing, among other things, that

       (1) the court lacked subject matter jurisdiction; (2) plaintiffs could not state a TVPA

       claim by relying on the command-and-control doctrine as a secondary theory of

       indirect liability3; and (3) plaintiffs could not state a claim for attempted extrajudicial

       killing because the TVPA did not provide for attempt liability. RA69-76.

              The court concluded it lacked jurisdiction over plaintiffs’ ATS claim because

       ATS claims must “touch and concern” the territory of the United States. Add10-12

       (quoting Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108, 124-125 (2013)). The




              3
              As the district court noted (Add14-15), plaintiffs never asserted command-
       and-control as one of their bases for secondary liability, so defendant’s argument
       was misdirected.


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       court deemed defendant’s move to Massachusetts insufficient to satisfy Kiobel’s

       touch-and-concern standard. Add12.

             But the court concluded that, independent of the ATS, it had federal-question

       jurisdiction over the TVPA claims, which arose under a federal statute, and

       supplemental jurisdiction over the arson claim. Add12-13. It rejected defendant’s

       argument that the TVPA contained the same jurisdictional touch-and-concern

       requirement as the ATS. Add12-13. Kiobel had interpreted the ATS to contain such

       a requirement by relying on the presumption against extraterritoriality. 569 U.S. at

       124-125. Following the Second and Eleventh Circuits, the district court concluded

       that no such presumption applied here because the TVPA expressly contemplates

       extraterritorial application. Add12-13.

             The court then concluded that plaintiffs adequately pleaded claims for torture,

       extrajudicial killing, and attempted extrajudicial killing. Add14-15. It concluded

       that the TVPA permits secondary liability because Congress legislated against a

       common-law background that permits such liability. Add15. It also concluded that

       the TVPA permits attempt liability. Add15. It noted that defendant cited no case

       holding that attempt was not actionable; in contrast, multiple courts, including the

       Second and Fourth Circuits, had permitted such claims to proceed. Add15.




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                    3.    This Court denied interlocutory appeal

              Defendant moved for reconsideration or, alternatively, to certify an

       interlocutory appeal challenging jurisdiction over the TVPA claims. The district

       court denied reconsideration but granted certification. Add20-29. This Court denied

       interlocutory appeal. Add30.

                    4.    The jury found defendant liable for extrajudicial killing,
                          attempted extrajudicial killing, and torture under the TVPA

              A seven-day jury trial was held for the TVPA and arson claims. Plaintiffs

       presented testimony from plaintiffs David, Juders, and Nissandère; eyewitnesses

       Osephita Lebon, Mers Ysemé, Vilfranc Larrieux, Jean Denais Laguerre, and

       Franckel Isme; and experts Robert Maguire and Brian Concannon.

              Maguire, a professor and former Senior Advisor on Haiti to the U.S.

       Department of State, had four decades of expertise on Haiti and had visited Haiti

       over 125 times. RA329-334. He testified about the role of armed community-based

       groups and their use of violence to secure power for their patrons. RA334-358;

       supra pp.4-5. Concannon, a lawyer and expert on Haiti’s judicial system, testified

       about the corruption and retaliatory violence that prevented victims of human rights

       abuses from obtaining justice, as well as his opinion that defendant’s 2018 acquittal

       was “highly consistent with a corrupt verdict.” RA803-806; RA616-617; RA618-

       635.




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             The remaining witnesses testified to the facts described above (supra pp.4-

       11). Osephita and Mers witnessed Eclesiaste’s killing (RA503-506; RA524-528),

       and Juders, Mers, Vilfranc, Jean, and Franckel witnessed the radio station attack

       (RA418-428; RA529-532; RA544-545; RA555-557; RA575-576; RA654-658).

             Defendant testified on his own behalf and denied any role in either attack.

       RA754-794. He offered no other witnesses to support his version of events.

             The jury found defendant liable for the extrajudicial killing of Eclesiaste and

       the torture and attempted extrajudicial killings of Nissage and Juders. RA952. It

       found defendant not liable for arson under Haitian law. RA955. It awarded David

       $1.75 million, Nissandère $1.25 million, and Juders $1.5 million in compensatory

       damages, plus a collective $11 million in punitive damages. RA953-954.4

                   5.     The district court denied defendant’s motions for a new trial,
                          judgment as a matter of law, and remittitur

             Defendant moved for a new trial, judgment as a matter of law, and remittitur,

       and the district court denied the motions. Add31-63. The court reiterated its prior

       jurisdictional rulings and interpretation of the TVPA. Add45-47.




             4
               After the verdict, defendant was indicted for falsely stating on his visa
       application that he had not ordered or assisted in extrajudicial killings in Haiti.
       United States v. Viliena, No. 1:23-cr-10074 (D. Mass. Mar. 21, 2023). He is
       awaiting trial.


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             It rejected defendant’s factual challenges to the jury’s verdict, noting that

       defendant mischaracterized the evidence. Add47-54. The court concluded there was

       ample evidence for the jury to find that defendant conspired with and/or aided and

       abetted Villeme Duclona in shooting Nissage and Juders (Add49-50); was

       responsible for Eclesiaste’s death, “either as the shooter himself or as the person who

       ordered the shooting” (Add50-51); and had acted under color of law as mayor

       (Add51-54). It further concluded that plaintiffs’ secondary theories of liability did

       not require proof that defendant had actual control over Villeme and, regardless, that

       the evidence supported such a finding. Add47-49.

             The court also rejected defendant’s objection to Professor Maguire’s

       testimony because Maguire’s opinion was reliable, was not unfairly prejudicial, and

       supported the jury’s verdict.       Add56-57.     Maguire’s opinion about armed

       community-based groups was connected to the claims here because fact witnesses

       testified that defendant was associated with KOREGA. Add57.

             Finally, the court declined to disturb the damage awards. It concluded that

       the compensatory awards were supported by ample evidence of harm, including

       David’s loss of his brother, Juders’s ongoing pain, Nissage’s amputated leg, and

       David’s and Juders’s separation from their families due to continuing threats.

       Add61. The court noted that valuing harms like physical suffering was left to the

       jury’s fairness and common sense and did not require calculable evidence. Add61.



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       It also concluded that punitive damages were permitted under the TVPA and that the

       amount awarded here was proportional to the compensatory damages and supported

       by the reprehensibility of killing and torture. Add61-63.

                                 SUMMARY OF ARGUMENT

             None of defendant’s nine arguments justifies disturbing the jury’s verdict.

             I. The district court correctly concluded it had federal-question jurisdiction

       over plaintiffs’ TVPA claims because they arose under a federal statute. Exercising

       jurisdiction extraterritorially is consistent with both the TVPA and the Constitution.

       The TVPA’s text and legislative history make clear that Congress drafted the statute

       to apply extraterritorially. That was a constitutional exercise of both Congress’s

       power (1) under the Offenses Clause to define and punish offenses against the law

       of nations and (2) under the Necessary and Proper Clause to implement treaties.

       There is no dispute that torture and extrajudicial killing are among the most serious

       and universally condemned offenses against the law of nations and prohibited by

       multiple treaties ratified by the United States.

             II. The district court correctly concluded the TVPA permits secondary

       liability. The TVPA’s text and legislative history establish that it reaches anyone

       who “subjects” another to torture, not just those who directly commit torture. 28

       U.S.C. §1350 note §2(a). Other courts of appeals have consistently affirmed TVPA

       liability under secondary theories like conspiracy.



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             III. This Court affords considerable deference to a jury’s verdict after trial.

       Abundant evidence permitted the jury to find that defendant was secondarily liable

       for extrajudicial killing and attempted extrajudicial killing. Witnesses testified that

       defendant gave Villeme Duclona the shotgun and ordered him to shoot Nissage and

       Juders, and that defendant led an armed group to David’s house and either shot or

       ordered Hautefort Bajon to shoot David’s brother. Only by pretending this evidence

       does not exist can defendant falsely claim there is no evidence he agreed with or

       assisted in the attacks.

             IV. The district court correctly concluded defendant’s evidentiary arguments

       about control provide no basis to overturn the jury’s verdict because none of

       plaintiffs’ theories require control.

             V. The district court correctly concluded the TVPA permits liability for

       attempted extrajudicial killing. Congress incorporated international-law principles

       into its definitions of torture and extrajudicial killing, including recognition of

       attempt liability. Courts have accordingly imposed TVPA liability for attempt.

             VI. Ample evidence supported the jury’s finding that defendant acted under

       color of law. Both attacks were retaliation for criticism of defendant’s actions as

       mayor, and defendant ordered members of his mayoral staff to carry out the violence.

             VII. The district court did not abuse its discretion in admitting Professor

       Maguire’s expert testimony. Maguire’s opinion was based on four decades of



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       experience concerning Haiti and extensive research on armed community-based

       groups. His testimony provided important context helping the jury to understand

       fact witnesses’ testimony about defendant’s relationship to his KOREGA crew and

       its violence.

             VIII. The district court did not abuse its discretion in denying remittitur of

       compensatory damages. The award was supported by overwhelming evidence of

       lasting physical and mental injuries plaintiffs suffered due to defendant’s torture.

             IX. The district court did not abuse its discretion in denying remittitur of

       punitive damages. Courts have repeatedly imposed punitive damages under the

       TVPA, refuting defendant’s assertion that the statute does not permit such damages.

       Torture and extrajudicial killing are precisely the kind of outrageous conduct that

       punitive damages were designed to deter. And the damages amount here was

       reasonable in light of the heinous nature of defendant’s attacks.

                                  STANDARDS OF REVIEW

             This Court reviews denials of motions for judgment notwithstanding the

       verdict de novo, but review is “weighted toward preservation of the jury verdict.”

       Rodowicz v. Mass. Mut. Life Ins. Co., 279 F.3d 36, 41 (1st Cir. 2001). It views the

       evidence “in the light most favorable to the verdict and may reverse only if no

       reasonable person could have reached the conclusion arrived at by the jury.”

       Alvarado-Santos v. Dep’t Health of P.R., 619 F.3d 126, 132 (1st Cir. 2010). Legal



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       questions are reviewed de novo. Miller v. Nichols, 586 F.3d 53, 58-59 (1st Cir.

       2009).

             The Court reviews denials of motions for new trial and remittitur for abuse of

       discretion. Marcano Rivera v. Turabo Med. Ctr. P’ship, 415 F.3d 162, 171 (1st Cir.

       2005). “A district court should only grant such motions if the outcome is against the

       clear weight of the evidence such that upholding the verdict will result in a

       miscarriage of justice.” Id. (citation omitted). The Court also reviews decisions to

       admit expert testimony for abuse of discretion. Id. at 170-71.

                                          ARGUMENT

       I.    THE DISTRICT COURT CORRECTLY CONCLUDED IT HAD
             JURISDICTION OVER PLAINTIFFS’ TVPA CLAIMS

             The district court’s conclusion that it had jurisdiction over plaintiffs’ TVPA

       claims is consistent with statutory text, legislative purpose and history, and the

       holdings of every court of appeals to consider the question. Defendant makes no

       attempt to reconcile his position with these authorities.

             A.     Federal Courts Have Federal-Question Jurisdiction Over TVPA
                    Claims

                    1.     Statutory text, legislative history, and precedent establish that
                           28 U.S.C. §1331 confers jurisdiction over TVPA claims

             As the district court correctly concluded (Add12), it had federal-question

       jurisdiction over plaintiffs’ TVPA claims. 28 U.S.C. §1331 provides: “The district

       courts shall have original jurisdiction of all civil actions arising under the


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       Constitution, laws, or treaties of the United States.” Plaintiffs’ TVPA claims “arise

       under” the laws of the United States because the TVPA, a federal law, “creates the

       cause of action.” Merrell Dow Pharms. v. Thompson, 478 U.S. 804, 808 (1986)

       (“suit arises under the law that creates the cause of action”) (citation omitted). That

       straightforward application of §1331’s text resolves the matter.         See FDIC v.

       Constructora Japimel, 981 F.3d 66, 69 (1st Cir. 2020) (“When a statute’s text is

       unambiguous, ‘judicial inquiry is complete.’”) (citation omitted).

             This conclusion is confirmed by legislative history and unanimous appellate

       precedent. Congress stated courts would exercise jurisdiction over TVPA claims

       under their Article III authority to hear claims “‘arising under’ the ‘law of the United

       States.’” S. Rep. 102-249, at 5-6; id. at 6 n.6 (noting intent to “provide[] Federal

       district courts jurisdiction over these suits”).5

             Courts have consistently followed that directive both before and after Kiobel.

       The Second, Fourth, and Eleventh Circuits have held that §1331 confers federal-

       question jurisdiction over TVPA claims, and no court of appeals has disagreed. Doe

       v. Drummond, 782 F.3d 576, 601 (11th Cir. 2015) (“Our jurisdiction to consider

       Plaintiffs’ TVPA claims is grounded … in 28 U.S.C. §1331, the general federal


             5
                 Defendant’s claim that this case does not satisfy Article III’s diversity-
       jurisdiction requirements (Def.Br.14-15) is irrelevant. Jurisdiction under §1331 is
       constitutional under Article III’s separate “Arising Under” Clause. U.S. Const. art.
       III, §2, cl.1.


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       question jurisdiction statute.”); Yousuf v. Samantar, 552 F.3d 371, 375 (4th Cir.

       2009), aff’d, 560 U.S. 305 (2010); Arce v. Garcia, 434 F.3d 1254, 1258 n.8 (11th

       Cir. 2006); Kadic v. Karadžić, 70 F.3d 232, 246 (2d Cir. 1995). District courts in

       this and other circuits have long exercised such jurisdiction. E.g., Xuncax v.

       Gramajo, 886 F. Supp. 162, 178 (D. Mass. 1995). If this Court adopted an atextual

       interpretation to decline jurisdiction here, it would create a circuit split and upset

       longstanding practice.

                    2.    Defendant’s attempt to limit TVPA claims to ATS jurisdiction
                          fails

             Defendant offers no explanation how creating an exception to federal-

       question jurisdiction for TVPA claims could be reconciled with §1331’s text. He

       dismisses as “tautology” the bedrock principle that statutory interpretation adheres

       to the text. Def.Br.9. And neither the legislative history nor sparse cases he cites

       suggest that the ATS must be the sole basis for jurisdiction over TVPA claims.

                          a.     Defendant’s incomplete recounting of the TVPA’s
                                 legislative history contains no suggestion that TVPA
                                 claims are limited to ATS jurisdiction

             Defendant paints an incomplete picture of the TVPA’s legislative history.

       The TVPA’s purpose was to “mak[e] sure that torturers and death squads will no

       longer have a safe haven in the United States.” S. Rep. 102-249, at 3. One way

       Congress furthered that purpose was by creating an express cause of action for

       torture and extrajudicial killing, resolving the confusion created by a D.C. Circuit


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       judge’s concurrence questioning whether such an action existed under the ATS.

       Def.Br.11-13. But that was only one of the ways the TVPA accomplished its

       purpose.

             Congress also stated that the TVPA goes beyond the ATS in several respects.

       Congress intended the TVPA to extend relief to U.S. citizens. S. Rep. 102-249, at

       5. It also intended the TVPA to reach extraterritorially to “torture committed

       abroad.” Id. at 4; id. at 5 (remedy for “U.S. citizens who may have been tortured

       abroad”); H.R. Rep. 102-367, at 3 (1991); see infra p.26-28. And it intended the

       TVPA to implement the United States’ international obligations under the

       Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment or

       Punishment (“Convention Against Torture”), which was ratified a year before the

       TVPA’s 1991 enactment. S. Rep. 102-249, at 3; H.R. Rep. 102-367, at 3. The

       Convention did not exist when the ATS was passed in 1789.

             Defendant identifies no statement from Congress suggesting the ATS would

       be the sole basis for jurisdiction over TVPA claims. That would thwart the TVPA’s

       broader purposes. For example, even though Congress created a remedy for U.S.

       citizens, it would be impossible for them to bring a TVPA claim if they had to

       establish jurisdiction under the ATS, which only allows claims by aliens. Compare

       28 U.S.C. §1350 (ATS provides jurisdiction only over “civil action by an alien”),

       with S. Rep. 102-249, at 5; Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1263-64



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       (11th Cir. 2009) (“The TVPA is broader than the ATS in that the TVPA allows

       citizens, as well as aliens, to seek remedy in federal court for official torture.”),

       abrogated on other grounds by Mohamad v. Palestinian Auth., 566 U.S. 449 (2012).

       Congress cannot have intended such a nonsensical scheme. See United States v.

       Articles of Drug Consisting of Following: 5,906 Boxes, 745 F.2d 105, 116 (1st Cir.

       1984) (refusing to “impute to Congress a purpose to paralyze with one hand what it

       sought to promote with the other”) (citation omitted).

                           b.     Defendant identifies no case holding that TVPA claims
                                  cannot be brought under federal-question jurisdiction

             Neither of the two cases defendant cites held that TVPA claims cannot invoke

       federal-question jurisdiction. In fact, both reinforce that such jurisdiction is proper.

             Defendant quotes inapposite language from Merrell Dow, which addressed a

       different question at the “outer reaches of §1331”—whether federal-question

       jurisdiction extends to state-law claims that incorporate federal standards. 478 U.S.

       at 810; Def.Br. 9-10. That question has no bearing on plaintiffs’ federal-law claims.

       Emphasizing this distinction, the Supreme Court stated the “vast majority” of

       federal-question-jurisdiction cases “are those in which federal law creates the cause

       of action”—like the TVPA here and unlike Merrell Dow. 478 U.S. at 808.

             Defendant’s citation to Kadic similarly fails. Def.Br.13. He quotes out of

       context the part of the Second Circuit’s decision declining to decide a different

       question not at issue here—whether §1331 could establish jurisdiction over claims


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       “implied by international law” but “not specifically authorized by statute.” 70 F.3d

       at 246. Kadic recognized the question was different for TVPA claims, which are

       authorized by statute. Id. It held TVPA plaintiffs could pursue their claims “under

       the jurisdiction conferred by the Alien Tort Act and also under the general federal

       question jurisdiction of section 1331.” Id. (emphasis added). Either sufficed.6

             In sharp contrast to defendant’s absence of authority limiting TVPA claims to

       the ATS, numerous courts have treated jurisdiction over TVPA claims and ATS

       claims independently. E.g., Drummond, 782 F.3d at 601 (“even when claims

       brought under the ATS are unsuccessful, Plaintiffs’ TVPA claims may potentially

       proceed on their own merit”); Chowdhury v. Worldtel Bangl. Holding, Ltd., 746 F.3d

       42, 45 (2d Cir. 2014) (finding no jurisdiction over ATS claim but affirming TVPA

       liability); Warfaa v. Ali, 811 F.3d 653, 661 (4th Cir. 2016) (finding no ATS

       jurisdiction but allowing TVPA claim to proceed).




             6
                Defendant correctly abandons his reliance on an unpublished district court
       decision, which dismissed a TVPA claim for lack of jurisdiction under the ATS
       without considering whether federal-question jurisdiction was available. Chen
       Gang v. Zhao Zhizhen, No. 04-cv-1146, 2013 WL 5313411, at *4 (D. Conn. Sept.
       20, 2013). That decision mistakenly cited Kadic, even though Kadic holds that
       TVPA claims can invoke federal-question jurisdiction. Kadic, 70 F.3d at 246. The
       Chen Gang court changed course in a subsequent decision in the same case. 2018
       WL 4693949, at *2 (D. Conn. Sept. 30, 2018) (“Unlike the ATS, the TVPA confers
       jurisdiction on federal courts over wholly extraterritorial claims.”), aff’d, 799 F.
       App’x 16, 18 (2d Cir. 2020).


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             B.     Jurisdiction Over TVPA Claims Applies Extraterritorially

                    1.     Statutory text, legislative history, and precedent establish that
                           the TVPA applies extraterritorially

             Having established jurisdiction, the district court correctly held that the TVPA

       applies extraterritorially to plaintiffs’ claims.     Add12.     Again, statutory text,

       legislative history, and precedent all compel that conclusion.

             The TVPA’s express textual references to foreign authority, foreign territory,

       and foreign conduct make clear that the statute reaches torture and extrajudicial

       killing abroad. The TVPA imposes liability on individuals acting “under actual or

       apparent authority, or color of law, of any foreign nation.” 28 U.S.C. §1350 note

       §2(a) (emphasis added). It requires plaintiffs to exhaust remedies “in the place in

       which the conduct giving rise to the claim occurred” before suing here. Id. §2(b).

       That language is “more naturally understood to address primarily conduct occurring

       in the territory of foreign sovereigns.” Chowdhury, 746 F.3d at 51.

             Legislative history reinforces that Congress intended the TVPA to reach

       extraterritorially. Drummond, 782 F.3d at 602 (“Although the text of the TVPA

       alone is sufficient to illustrate the Act’s intended extraterritoriality, the legislative

       history fully supports this conclusion.”). Congress stated it was “providing a civil

       cause of action in U.S. courts for torture committed abroad.” S. Rep. 102-249, at 3-

       4; id. at 5 (remedy for U.S. citizens “tortured abroad”). And it explained the need

       for such a remedy: “Judicial protection against flagrant human rights violations is


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       often least effective in those countries where such abuses are most prevalent.” Id. at

       3; H.R. Rep. 102-367, at 3. Unless the TVPA applied extraterritorially, many torture

       victims would receive no relief.

             For these reasons, the Second and Eleventh Circuits held the TVPA applies

       extraterritorially. Chowdhury, 746 F.3d at 45-46 (Bangladeshi citizen tortured by

       Bangladeshi citizen in Bangladesh); Drummond, 782 F.3d at 580-81 (Colombian

       citizens killed in Colombia); see Kiobel, 569 U.S. at 125 (Kennedy, J., concurring)

       (TVPA addressed “human rights abuses committed abroad”). Other courts, without

       discussing the issue explicitly, have also exercised jurisdiction over extraterritorial

       TVPA claims. E.g., Warfaa, 811 F.3d at 657 (foreign plaintiff tortured by foreign

       defendant in Somalia); Xuncax, 886 F. Supp. at 169-71 (Guatemalans tortured by

       Guatemalan military in Guatemala). No court of appeals has denied jurisdiction over

       TVPA claims due to extraterritoriality.

                    2.     No presumption against extraterritoriality applies because, as
                           defendant concedes, Congress clearly indicated that the TVPA
                           applies extraterritorially

             Defendant does not dispute any of the above analysis. In fact, he correctly

       concedes that Congress intended the TVPA to apply extraterritorially. Def.Br.16-

       17; Add25 (district court relying on defendant’s concession).              Defendant’s

       discussions of Kiobel’s touch-and-concern standard and the presumption against

       extraterritoriality are thus irrelevant. Def.Br.16-18.



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             The presumption against extraterritoriality is an interpretive canon that

       assumes Congress did not intend a statute to reach foreign conduct unless there is

       “clear indication of an extraterritorial application.” Kiobel, 569 U.S. at 115 (citation

       omitted). Kiobel and other cases defendant cites applied the presumption to statutes,

       like the ATS, which lack that “clear indication.” Kiobel, 569 U.S. at 115-16; United

       States v. Hayes, 653 F.2d 8, 15 (1st Cir. 1981) (21 U.S.C. §841(a)(1) has “no such

       express statement”); United States v. Aluminum Co. of Am., 148 F.2d 416, 443 (2d

       Cir. 1945) (“assum[ing]” Congress did not “cho[o]se to” reach foreign conduct);

       United States v. Cafiero, 242 F. Supp. 2d 49, 53-55 (D. Mass. 2003) (following

       Hayes).

             But that presumption has no application to the TVPA, which—as defendant

       concedes (Def.Br.16-17)—reflects Congress’s express intent to give the statute

       extraterritorial effect. Drummond, 782 F.3d at 602 (TVPA “itself gives ‘clear

       indication of an extraterritorial application’”) (citation omitted); Chowdhury, 746

       F.3d at 50-51 (rejecting argument to extend Kiobel’s reasoning from ATS to TVPA).

             C.     The TVPA Is Constitutional

             Unable to dispute the TVPA’s extraterritoriality, defendant attempts to turn a

       canon of statutory interpretation into a constitutional rule restricting Congress’s

       ability to legislate. But nothing in the Constitution prohibited Congress from passing

       the TVPA nor prevents this Court from applying it as Congress intended.



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                    1.    Congress had authority to enact the TVPA under Article I’s
                          “Offenses” and “Necessary and Proper” Clauses

             As the district court correctly concluded (Add26), the TVPA was a

       constitutional exercise of Congress’s Article I power to “define and punish …

       Offences against the Law of Nations.” U.S. Const. art I, §8, cl.10. “Offences against

       the Law of Nations” encompasses “conduct that the United States has an

       international obligation to prevent,” including violations of treaties and customary

       international law. Restatement (Fourth) of Foreign Relations Law §403 (Am. L.

       Inst. 2018) (“Restatement”). Congress further has authority under the Necessary and

       Proper Clause to implement treaties entered into under Article II, even beyond its

       other Article I powers. U.S. Const. art. I, §8, cl.18; see Missouri v. Holland, 252

       U.S. 416, 432 (1920); United States v. Mikhel, 889 F.3d 1003, 1024 (9th Cir. 2018).

             Whatever the outer bounds of “Offences against the Law of Nations,”

       defendant does not dispute that torture and extrajudicial killing are among such

       offenses—and thus within Congress’s legislative authority. Def.Br.14. They are

       among the most heinous and universally condemned human rights abuses. As

       Congress recognized, quoting the Second Circuit in Filartiga v. Pena-Irala, 630

       F.2d 876, 884 (2d Cir. 1980), “official torture is now prohibited by the law of

       nations.” S. Rep. 102-249, at 3 (citation omitted); H.R. Rep. 102-367, at 2-3 (“The

       prohibition against summary executions has acquired a similar status.”).




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               This universal consensus is reflected in multiple international treaties ratified

       by the United States that prohibit torture and extrajudicial killing. See Convention

       Against Torture, arts. 2, 14, G.A. Res. 39/46, Dec. 10, 1984, 1465 U.N.T.S. 85;

       Universal Declaration of Human Rights, art. 5, G.A. Res. 217A (III), Dec. 10, 1948,

       U.N. Doc. A/810 at 71; Int’l Covenant on Civil and Political Rights, arts. 6-7, G.A.

       Res. 2200A (XXI), Dec. 16, 1966, 999 U.N.T.S. 171. In particular, Article 14 of the

       Convention Against Torture requires states to “ensure in [their] legal system that the

       victim of an act of torture obtains redress and has an enforceable right to fair and

       adequate compensation.” Convention Against Torture, supra, art. 14. Congress

       intended the TVPA to fulfill this obligation to “adopt measures to ensure that

       torturers within their territories are held legally accountable for their acts.” S. Rep.

       102-249, at 3; id. at 5-6 (invoking Offenses Clause authority); H.R. Rep. 102-367,

       at 3.

               In addition to these treaty obligations, torture and extrajudicial killing fall

       within a class of “the most serious offenses about which a consensus has arisen for

       the existence of universal jurisdiction.” Restatement §407, Reporter’s Note 2; id.

       §413 (including, e.g., “genocide, crimes against humanity, war crimes, certain acts

       of terrorism, piracy, the slave trade, and torture”). International law recognizes that,

       over this category, “all states may exercise jurisdiction based on a universal concern

       in suppressing [these] offenses,” “even if no specific connection exists between the



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       United States and the persons or conduct being regulated.” Id. §407, Reporter’s

       Note 2, §402(1)(f); see Kiobel, 569 U.S. at 136-39 (Breyer, J., concurring in

       judgment).

             The TVPA is just one of many statutes Congress has passed condemning

       heinous offenses against the law of nations occurring abroad as long as the

       perpetrator—like defendant here—is later found in the United States. S. Rep. 102-

       249, at 5 & n.3 (TVPA); e.g., 18 U.S.C. §1091(e)(2)(D) (genocide); 18 U.S.C.

       §1116(c)(3) (murder of foreign officials or internationally protected persons); 18

       U.S.C. §1201(e)(3) (kidnapping of internationally protected persons); 18 U.S.C.

       §1596(a)(2) (slavery); 18 U.S.C. §1651 (piracy); 18 U.S.C. §2332f(b)(2)(C)

       (terrorist bombing); 18 U.S.C. §2332i(b)(4) (nuclear terrorism); 18 U.S.C.

       §2340A(b)(2) (torture); 49 U.S.C. §46502(b)(2)(C) (aircraft piracy); see United

       States v. Smith, 680 F.2d 255, 257-58 (1st Cir. 1982) (“universal” jurisdiction

       requires only physical custody of defendant).

                    2.    Defendant’s constitutional challenge is baseless and threatens
                          numerous statutes beyond the TVPA

             Defendant identifies no court that has held Congress violated the Constitution

       by enacting the TVPA with extraterritorial reach. Without supporting authority, he

       fails to root his argument in any recognized constitutional doctrine. And he fails to

       contend with the far-reaching consequences of adopting his position.




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                           a.     Defendant fundamentally misunderstands comity,
                                  which is a prudential judicial doctrine, not a
                                  constitutional limit on Congress

             Defendant primarily couches his argument in terms of “comity” (Def.Br.19-

       20), but comity has no constitutional status. It is a prudential judicial doctrine

       allowing courts to consider potential international conflicts when deciding whether,

       “in [their] discretion, [to] decline to exercise subject matter jurisdiction that [they]

       already possess[].” McBee v. Delica Co., 417 F.3d 107, 111 (1st Cir. 2005)

       (emphasis added). Comity is not a binding rule that deprives courts of jurisdiction,

       let alone imposes constitutional limits on Congress. Id. at 121; Hartford Fire Ins.

       Co. v. California, 509 U.S. 764, 798 n.24 (1993); United States v. Nippon Paper

       Indus. Co., 109 F.3d 1, 8 (1st Cir. 1997) (“Comity is more an aspiration than a fixed

       rule, more a matter of grace than a matter of obligation.”).

             Defendant disclaims any request that this Court exercise discretion to abstain

       under prudential comity principles. Def.Br.20. Instead, he asks the Court to create

       a new constitutional comity rule requiring courts to weigh U.S. and foreign interests

       in order to declare an act of Congress unconstitutional. Def.Br.18-20.

             There is no constitutional basis or precedent for such a rule. Defendant cites

       Justice Scalia’s dissent in Hartford Fire Insurance Co. v. California, but the majority

       rejected his view and held that comity did not preclude jurisdiction over foreign

       conduct alleged to violate the Sherman Act. 509 U.S. at 795-99 & n.24. Regardless,



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       even Justice Scalia’s dissent offers defendant no support. Justice Scalia recognized

       that Congress has authority to legislate extraterritoriality, even beyond customary-

       international-law limits. Id. at 812-14. He viewed comity not as a restriction on

       Congress, but as another canon of statutory construction (akin to the presumption

       against extraterritoriality) to help courts determine whether Congress had used its

       authority to legislate extraterritorially. Id. at 814-15. As discussed above (supra

       pp.26-28), there is no dispute that Congress has done so in the TVPA, so no “comity”

       canon would apply even if Justice Scalia’s dissent were the law.

             The other cases defendant cites fare no better. One established the act-of-state

       doctrine, which is not at issue here. Underhill v. Hernandez, 168 U.S. 250, 252

       (1897). The others, like Justice Scalia’s dissent, addressed statutory construction,

       not constitutional limits on Congress’s authority to legislate. Am. Banana Co. v.

       United Fruit Co., 213 U.S. 347, 357 (1909); see supra p.28.

             The absence of authority for a constitutional comity rule is unsurprising

       because such a rule would negate established comity-based doctrines.                If

       extraterritoriality were unconstitutional, prudential rules like comity-based

       abstention and canons like the presumption against extraterritoriality would be

       superfluous. The very existence of such principles implicitly recognizes Congress’s

       power to legislate extraterritorially and helps courts determine when Congress has

       used that power. Kiobel, 569 U.S. at 117 (Congress “can indicate that it intends



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       federal law to apply to conduct occurring abroad”); Morrison v. Nat’l Austl. Bank

       Ltd., 561 U.S. 247, 255 (2010) (“This principle represents a canon of construction,

       or a presumption about a statute’s meaning, rather than a limit upon Congress’s

       power to legislate[.]”).

                           b.     Defendant identifies no authority establishing that
                                  Congress’s power is limited by international law

             Defendant’s remaining arguments sound in the “law of nations” (Def.Br.14),

       but there is no free-floating constitutional requirement that Congress abide by

       international law. To the contrary, “in enacting statutes, Congress is not bound by

       international law.” United States v. Pinto-Mejia, 720 F.2d 248, 259 (2d Cir. 1983),

       as amended on den. of reh’g en banc (Feb. 15, 1984). “If it chooses to do so, it may

       legislate with respect to conduct outside the United States, in excess of the limits

       posed by international law[,]” and “a United States court would be bound to follow

       the Congressional direction unless this would violate the due process clause[.]” Id.

       (citation omitted); Restatement §402, cmt. b (“[A]n unambiguous federal statute that

       contravened customary-international-law limits on jurisdiction to prescribe would

       be controlling as a matter of federal law.”).

             Defendant appears to assume that international law’s territorial requirements

       are implicit in the Offenses Clause, but he fails to explain why. Def.Br.13-14.

       Nothing in the clause’s text imposes any geographical limit. Instead, it gives

       Congress power to “define” offenses against the law of nations, recognizing


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       Congress’s primacy. See United States v. Smith, 18 U.S. (5 Wheat.) 153, 159 (1820)

       (“there is a peculiar fitness in giving the power to define as well as to punish”

       because offenses against the law of nations cannot “be completely ascertained and

       defined in any public code recognized by the common consent of nations”).

             Defendant cites only The Federalist No. 42 (James Madison), which mentions

       no territorial limits on the Offenses Clause, and a student note, which acknowledged

       it was advocating for an approach not adopted by courts. Def.Br.13-14; Michael

       Morley, Note, The Law of Nations and the Offenses Clause of the Constitution, 112

       Yale L.J. 109, 139-40, 142 (2002). Both were concerned with different issues. The

       Federalist No. 42 addresses the relationship between the federal and state

       governments, not the United States and foreign sovereigns. The student note argues

       that the Offenses Clause cannot substitute for the Commerce Clause in permitting

       legislation over domestic activity of U.S. citizens. Morley, supra, at 111.

             Moreover, even if international law somehow territorially limited Congress’s

       Offenses Clause authority, it would not limit the President’s Article II power to make

       treaties like the Convention Against Torture, or Congress’s Necessary-and-Proper-

       Clause authority to implement those treaties, as the TVPA did. Missouri, 242 U.S.

       at 432-33.




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                          c.    The TVPA is fully consistent with the law of nations

             Regardless, even if the Offenses Clause implied international law’s territorial-

       jurisdiction requirements, the TVPA meets those requirements. As explained above

       (supra pp.29-31), international law permits the TVPA’s extraterritorial application

       under both treaty-based jurisdiction and universal jurisdiction over “offenses of

       universal concern”—like torture and extrajudicial killing. Restatement §413 &

       cmt. b.

             Defendant identifies no source of international law that is supposedly violated.

       Def.Br.14. That alone defeats his argument. He quotes out of context The Federalist

       No. 42’s general language encompassing all of Congress’s foreign-facing powers.

       Def.Br.14. Nowhere did Madison suggest that the law of nations only applies to

       “conduct of independent states towards each other.” Contra Def.Br.14. That is

       plainly refuted by longstanding international law that states may universally punish

       piracy. Sosa v. Alvarez-Machain, 542 U.S. 692, 720 (2004); U.S. Const. art. I, §8,

       cl.10 (“Piracy” Clause). Nor did Madison suggest that the law of nations was

       “unchanging and immutable”—a view inconsistent with the Supreme Court’s prior

       reasoning. Contra Def.Br.14; see Sosa, 542 U.S. at 732 (“the torturer has become—

       like the pirate and slave trader before him—hostis humani generis, an enemy of all

       mankind”) (quoting Filartiga, 630 F.3d at 890); id. at 728-32.




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               In fact, Congress noted the TVPA’s compliance with the law of nations by

       comparing it to other nations’ “legislation allowing for civil suits against torture

       occurring abroad.” S. Rep. 102-249, at 5 (referencing cases from Germany, the

       Philippines, and Belgium) (citation omitted); Kiobel 569 U.S. at 136-38 (Breyer, J.,

       concurring in judgment) (noting international prevalence of universal-jurisdiction

       statutes, both civil and criminal). As of 2011, at least 85 U.N. member-states’ laws

       permitted universal jurisdiction over torture, and that number has likely increased

       since. Amnesty Int’l, Universal Jurisdiction: A Preliminary Survey of Legislation

       Around the World 13 (2011).7 The verdict here is thus consistent with international

       law and practice. E.g., Ould Dah v. France, App. No. 13113/03, European Court of

       Human Rights (Mar. 17, 2009) (affirming French court’s exercise of universal

       jurisdiction over Mauritanian national who tortured Mauritanian victims in

       Mauritania).8

                           d.    Upholding the TVPA would not grant Congress
                                 limitless authority over foreign states’ domestic affairs

               Defendant’s exaggerated claim that affirmance would lead to limitless U.S.

       jurisdiction (Def.Br.19-20) is false. Other limits prevent such far-fetched scenarios.




         7
             https://www.amnesty.org/en/wp-content/uploads/2021/06/ior530042011en.pdf.
         8
             https://hudoc.echr.coe.int/eng#{%22itemid%22:[%22001-113014%22]}.


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             TVPA claims are rare because the statute’s requirements are satisfied only in

       egregious cases like this. Drummond, 782 F.3d at 608 n.43, 611. In addition to

       proving defendant committed torture or extrajudicial killing, TVPA plaintiffs must

       satisfy the color-of-law requirement, exhaustion of local remedies, and statute of

       limitations. 28 U.S.C. §1350 note §2(a)-(c).

             Nor would affirmance allow Congress to open U.S. courts to any foreign-

       based lawsuits—e.g., for “traffic safety in Haiti,” the far-fetched scenario defendant

       posited below. RA170. Congress’s powers are enumerated in Article I, which does

       not reach most foreign conduct (like traffic-law violations). Even when Congress’s

       laws give rise to federal-question jurisdiction, courts must still have personal

       jurisdiction over defendants, which requires “minimum contacts” with the forum.

       S. Rep. 102-249, at 7 (“Thus, this legislation will not turn the U.S. courts into

       tribunals for torts having no connection to the United States whatsoever.”).

       Defendant, for example, is subject to jurisdiction because he escaped to the United

       States. Finally, even when courts have jurisdiction, doctrines like prudential comity

       (supra p.32) and forum non conveniens allow dismissal to protect foreign-relations

       concerns.

             Conversely, it is not plaintiffs’ argument but defendant’s that has far-reaching

       consequences. Defendant’s argument, if accepted, would mean that, since the

       statute’s enactment, courts have repeatedly violated international law and the



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       Constitution by hearing extraterritorial TVPA claims. See supra pp.25-27. It would

       mean not only that the TVPA is unconstitutional, but that numerous other statutes

       punishing genocide, slavery, terrorism, nuclear terrorism, etc. are too. See supra

       p.31. Without compelling authority, this Court should not upend so much of the

       U.S. Code.

                          e.    Defendant ignores the United States’ significant
                                interest in fulfilling its international obligations and
                                ensuring it does not become a safe haven for torturers

             Defendant ends by mischaracterizing this case as “a matter in which the

       United States has no interest.” Def.Br.19-20 (emphasis omitted). His balancing of

       U.S. and Haitian interests is flawed and impermissibly substitutes his judgment for

       Congress’s.

             In enacting the TVPA, Congress determined that the United States has a

       significant interest in complying with its treaty obligations under the Convention

       Against Torture and ensuring it does not become a “safe haven” for torturers. S.

       Rep. 102-249, at 3. That interest is paramount here, where defendant fled to the

       United States to avoid Haitian judicial proceedings. He used Massachusetts as a

       “safe haven” to continue acting as mayor, directing his KOREGA crew, and

       threatening plaintiffs to prevent them from seeking justice. See supra pp.9-11. That

       is exactly what Congress intended to prevent.




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             Defendant’s assessment of Haitian interests is also problematic. Plaintiffs

       presented abundant evidence demonstrating that retaliatory violence, corruption, and

       ineffective institutions have rendered judicial remedies in Haiti futile. RA616-635;

       RA247-251 (district court’s summary-judgment determination of futility, which

       defendant does not challenge). Defendant’s purported analogy to Haitian courts

       adjudicating torture of U.S. citizens in the United States (Def.Br.19) is thus inapt.

       Regardless, balancing U.S. and foreign interests is Congress’s responsibility, not

       defendant’s or this Court’s.

       II.   THE DISTRICT COURT CORRECTLY CONCLUDED THE TVPA
             PERMITS SECONDARY LIABILITY

             A.     Statutory Text, Legislative History, And Precedent Establish That
                    The TVPA Permits Secondary Liability

             As the district court correctly concluded (Add14-15), the TVPA permits

       liability under both direct and secondary (indirect) theories, including those asserted

       by plaintiffs: conspiracy, aiding and abetting, solicitation, directing or ordering.

             The Supreme Court recognized that “the TVPA contemplates liability against

       officers who do not personally execute the torture or extrajudicial killing.”

       Mohamad, 566 U.S. at 458. Accordingly, the Second, Ninth, and Eleventh Circuits

       agree that secondary liability is available under the TVPA. Drummond, 782 F.3d at

       605-06; Chowdhury, 746 F.3d at 52-53; Doe I v. Cisco Sys., 73 F.4th 700, 741-44




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       (9th Cir. 2023); Cabello v. Fernández-Larios, 402 F.3d 1148, 1157-58 (11th Cir.

       2005). This Court should do the same.

             The TVPA imposes liability on anyone who “subjects an individual to

       torture.” 28 U.S.C. §1350 note §2(a). “Subject” means “to cause or force to undergo

       or endure (something unpleasant, inconvenient, or trying).” Cisco, 73 F.4th at 742

       (quoting Merriam-Webster 9 ).        If Congress intended to prohibit only directly

       committing torture, “it could have used the term ‘tortures’ or ‘inflicts torture.’” Id.

       Instead, “subjects” covers “not only individuals who directly torture another but also

       those who in some respect cause another to undergo torture.” Id. (emphasis in

       original).

             This textual analysis is reinforced by the TVPA’s purpose and legislative

       history. Congress stated it intended to encompass “persons who ordered, abetted, or

       assisted in the torture.” S. Rep. 102-249, at 8. That was necessary to fulfil the United

       States’ treaty obligations because the Convention Against Torture imposes

       accomplice liability for “complicity or participation in torture.” Convention Against

       Torture, supra, art. 4; Cisco, 73 F.4th at 743. Congress additionally recognized that

       international law extends liability for torture and killing to “anyone with higher

       authority who authorized, tolerated or knowingly ignored those acts.” S. Rep. 102-



             9
                 https://www.merriam-websiter.com/dictionary/subject.


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       249, at 8-9. By drawing from international-law definitions, Congress gave the

       TVPA the same reach. Id. at 6; H.R. Rep. 102-367, at 4-5.

             B.     Defendant’s Argument For A Presumption Against Secondary
                    Liability Fails

             Defendant fails to address the above authority. Instead, he seeks a default rule

       that secondary liability is precluded unless expressly authorized. Def.Br.22-24. The

       Ninth Circuit already rejected that argument, and rightly so. Cisco, 73 F.4th at 744.

             Central Bank of Denver v. First Interstate Bank created no default rule against

       secondary liability. 511 U.S. 164, 183-84 (1994). The Supreme Court held §10(b)

       of the Securities Exchange Act does not permit aiding-and-abetting liability, where

       “nothing in the text or history of §10(b) even implies that aiding and abetting was

       covered by the statutory prohibition on manipulative and deceptive conduct.” Id. at

       183. The Court refused to “create a presumption favoring the inclusion of aiding

       and abetting liability in a civil statute, but it did not adopt the opposite presumption”

       either. Cisco, 73 F.4th at 744. Central Bank instructs courts to consider each

       statute’s particular text and history. 511 U.S. at 182-84. Here, unlike the Securities

       Exchange Act, the TVPA’s text and history make secondary liability available.

             Defendant cites no appellate court adopting his position, only a single district

       court that failed to consider the term “subjects” or Congress’s express statements.

       Mastafa v. Chevron Corp., 759 F. Supp. 2d 297, 300 (S.D.N.Y. 2010). The Second

       Circuit did not reach its erroneous reasoning and affirmed on different grounds.


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       Mastafa v. Chevron Corp., 770 F.3d 170, 177-80 (2d Cir. 2014) (affirming dismissal

       because no TVPA liability against corporations).

       III.   THE JURY’S VERDICT WAS SUPPORTED BY EVIDENCE OF
              DEFENDANT’S SECONDARY LIABILITY

              Defendant’s appeal does not challenge the jury instructions on secondary

       liability, only the evidence supporting the verdict. Def.Br.23-25. This Court’s

       review of a jury verdict is deferential, especially after a 7-day trial with live

       testimony. The Court must view the evidence “in the light most favorable to the

       verdict and may reverse only if no reasonable person could have reached the

       conclusion arrived at by the jury.” Alvarado-Santos, 619 F.3d at 132.

              Here, the question is not close. The district court correctly concluded there

       was ample evidence for the jury to find defendant secondarily liable. Add49-50.

       Defendant’s bald claim that there was “no evidence” (Def.Br.24) misstates the

       record and ignores the extensive evidence that defendant directed his associates to

       shoot Eclesiaste, Nissage, and Juders.

              A.     Extensive Evidence Supports The Finding That Defendant Was
                     Secondarily Liable For Attempted Extrajudicial Killings Of
                     Nissage And Juders

              The jury heard overwhelming evidence supporting a finding that defendant

       knowingly and substantially assisted (aiding-and-abetting liability) and/or agreed

       with (conspiracy) Villeme Duclona in the attempted extrajudicial killings of Nissage

       and Juders. See Cabello, 402 F.3d at 1158-59. Juders, Nissandère, Mers, Vilfranc,


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       Jean, and Franckel collectively and consistently testified that: (1) defendant opposed

       the radio station and threatened to destroy it; (2) defendant gathered 30 men from

       his KOREGA crew, including Villeme, to attack the radio station; (3) defendant

       obtained and distributed firearms to his crew, including Villeme; (4) defendant

       ordered and led his crew to attack the radio station; (5) defendant personally beat

       Nissage and Juders; (6) defendant ordered an associate to restrain Juders and

       threatened to hang him; (7) defendant ordered Villeme to shoot Juders and Nissage;

       and (8) Villeme obeyed and shot them. RA417-428; RA529-532; RA544-545;

       RA548-557; RA573-576; RA648-658; RA674-675.

             Defendant’s claim that he was merely present but had no knowledge of the

       acts or agreement with Villeme (Def.Br.23-24) flies in the face of overwhelming

       evidence. His only argument is that plaintiffs’ counsel in closing described him as

       a “petty tyrant” (Def.Br.24), but that does not contradict his knowledge or

       participation in the attempted extrajudicial killing.

             B.     Extensive Evidence Supports The Finding That Defendant Was
                    Liable For The Extrajudicial Killing Of Eclesiaste

             Defendant’s secondary-liability arguments are either non-specific or focused

       solely on the radio station attack (Def.Br.21-25), so any argument challenging his

       liability for the extrajudicial killing of Eclesiaste is waived. Morales-Tañon v. P.R.

       Elec. Power Auth., 524 F.3d 15, 19 (1st Cir. 2008) (argument waived if “not

       accompanied by developed argumentation”) (citation omitted).


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             Regardless, the jury heard ample evidence supporting a finding that defendant

       knowingly assisted and/or agreed to kill Eclesiaste. Collectively, David, Osephita,

       Mers, and Jean testified that: (1) defendant was angered by David’s advocacy and

       threatened him, “Later on I’m coming for you”; (2) defendant agreed with Hautefort

       to “deal with [David] later”; (3) defendant brought his armed KOREGA crew to

       David’s house to retaliate; and (4) they lured Eclesiaste outside and killed him.

       RA387-389; RA502-506; RA525-528; RA541-542; RA568-570. Mers testified that

       defendant ordered Hautefort to shoot Eclesiaste: defendant said, “As we don’t find

       David, let’s shoot Eclesiaste, like, in his place.” RA527-528; RA541-542.

             Alternatively, the jury could have found defendant directly liable. Osephita

       testified that defendant shot Eclesiaste (RA505-06), and, viewing the evidence “in

       the light most favorable to the verdict,” the jury could have credited her testimony.

       Alvarado-Santos, 619 F.3d at 132.         Either way, the evidence establishes that

       defendant was far more than just “presen[t] at the scene.” Contra Def.Br.30-31.

             Defendant does not challenge or discuss any of this evidence. Def.Br.21-25.

             C.     Defendant does not dispute his direct liability or his secondary
                    liability under a solicitation theory

             Defendant challenges only aiding-and-abetting and conspiracy liability; he

       does not dispute that sufficient evidence supports at least one of plaintiffs’ other

       secondary theories: solicitation. Def.Br.21-25. Nor does he dispute that evidence

       supports direct liability for the torture of Nissage and Juders and extrajudicial killing


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       of Eclesiaste. Def.Br.21-25. Where the evidence overwhelmingly supports liability

       regardless of the theory, this Court’s “generous[]” harmless error standard applies.

       See Gillespie v. Sears, Roebuck & Co., 386 F.3d 21, 30 (1st Cir. 2004) (this Court

       “generously applie[s]” harmless error where it is “reasonably sure that the jury in

       fact relied upon a theory with adequate evidentiary support”) (emphasis omitted);

       Mass. Eye & Ear Infirmary v. QLT Phototherapeutics, 552 F.3d 47, 73 (1st Cir.

       2009).

       IV.   THE DISTRICT COURT CORRECTLY CONCLUDED CONTROL
             WAS NOT REQUIRED

             Throughout this litigation, defendant has continually challenged a theory

       plaintiffs never raised. Add14-15; Add48. He argues he lacked “ability to control”

       Villeme Duclona, but control is not an element of any secondary-liability theory

       plaintiffs advanced. See Cabello, 402 F.3d at 1157-59 (conspiracy and aiding-and-

       abetting liability, without command responsibility); Jane W. v. Thomas, 560 F. Supp.

       3d 855, 889 (E.D. Pa. 2021) (directing or ordering). Instead, defendant cites a case

       requiring control for command-responsibility liability, which plaintiffs have never

       asserted. Ford ex rel. Estate of Ford v. Garcia, 289 F.3d 1283, 1290-92 (11th Cir.

       2002). The command-responsibility theory in that case differs from plaintiffs’ four

       theories because it imposes liability on defendants for failing to control subordinates

       who commit human rights abuses, rather than affirmatively assisting, agreeing,

       ordering, or solicitating such abuses. Id. at 1289.


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             Even if control were required, there was abundant evidence that defendant

       was able to control Villeme. As the district court correctly concluded, the jury could

       have found Villeme “was a member of KOREGA and under [defendant’s] control”

       when he shot Juders and Nissage. Add48-49. The jury heard testimony that

       (1) defendant, as the mayor, “would do certain things affiliated to KOREGA and

       KOREGA would always support him” (RA487-488); (2) Villeme was a KOREGA

       member and “behind” defendant with a KOREGA shirt during the election (RA415;

       RA670); (3) KOREGA was typical of armed community-based groups, serving

       political patrons with violence in exchange for benefits (RA334-335; RA344-358);

       and (4) Villeme helped defendant intimidate voters during the election and attack

       the radio station (RA415; RA425-427).            Moreover, evidence established that

       defendant in fact controlled Villeme: he ordered Villeme to shoot Juders and

       Nissage, and Villeme obeyed. RA428; RA530-531; RA657.10

       V.    THE DISTRICT COURT CORRECTLY REFUSED TO DISTURB
             THE JUDGMENT FOR NISSAGE AND JUDERS

             The judgment for Nissandère and Juders can be affirmed on two independent

       bases. The jury provided them each a single damages award for their torture and

       attempted extrajudicial killing claims because “[t]he same conduct underlay both.”

       Molloy v. Blanchard, 115 F.3d 86, 90-91 (1st Cir. 1997); RA869 (instructing jury


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                  Defendant does not dispute his control over Hautefort. Def.Br.28-31.


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       not to award duplicative damages for same injury); RA952-954. Where “the jury’s

       damages award would be the same under either or both liability theories,” “the award

       stands, with no alteration in the amount of damages regardless of whether one or

       both claims are upheld.” Molloy, 115 F.3d at 90-91; Dahlgren v. First Nat’l Bank

       of Holdredge, 533 F.3d 681, 692 (8th Cir. 2008). Defendant does not challenge the

       torture claims, so the awards can be affirmed on that basis alone.

             The Court can also affirm on the attempted extrajudicial killing claims. The

       district court correctly rejected defendant’s challenge to those claims because the

       TVPA permits attempt liability. Add15. Congress based the definition of torture

       and extrajudicial killing on the Convention Against Torture and the Geneva

       Convention for the Amelioration of the Wounded and Sick in Armed Forces in the

       Field. S. Rep. 102-249, at 6; H.R. Rep. 102-367, at 4-5. Congress cited Article 4 of

       the Convention Against Torture, which prohibits “attempt to commit torture.” S.

       Rep. 102-249, at 9 n.16; Convention Against Torture, supra, art. 4(1); see 18 U.S.C.

       §2340A(a). Likewise, the International Criminal Court, which has jurisdiction over

       grave breaches of the Geneva Conventions such as killing, recognizes attempt

       liability. Rome Statute of the Int’l Crim. Court, arts. 8(2)(a)(i), 25(3)(f), July 1,

       2002, 2187 U.N.T.S. 90; see 18 U.S.C. §2441(d)(1)(D) (recognizing attempted

       killing as grave breach of Geneva Conventions). And attempt is familiar in other

       areas of international law as well. E.g., Convention on Prevention and Punishment



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       of Crime of Genocide, art. III(d), Dec. 9, 1948, 78 U.N.T.S. 277. By basing the

       TVPA’s definitions on international law, Congress incorporated these principles.

             Courts have thus permitted TVPA claims for attempted extrajudicial killing.

       E.g., Doe v. Constant, 354 F. App’x 543, 544, 547 (2d Cir. 2009) (affirming

       judgment including attempted-extrajudicial-killing claim); Jane W., 560 F. Supp. 3d

       at 881 (granting plaintiffs summary judgment on attempted-extrajudicial-killing

       claim); Warfaa v. Ali, 33 F. Supp. 3d 653, 666 (S.D.N.Y. 2006) (denying motion to

       dismiss attempted-extrajudicial-killing claim), aff’d, 811 F.3d 653 (4th Cir. 2016);

       see Cal. Code Civ. Proc. §354.8(a)(1)(D) (relying on TVPA to define “attempted

       extrajudicial killing”).

             Defendant challenges this longstanding practice by relying on a single

       unpublished district court case. Def.Br.25. But even that court did not decide the

       question, concluding it was “not necessary” because the plaintiff failed to establish

       state action. Appel v. Hayut, No. 20-6256, 2021 WL 2689059, at *10 (S.D.N.Y.

       June 30, 2021). The Second Circuit did not reach the issue, assuming attempt was

       actionable and affirming dismissal on state-action grounds. Appel v. Cohen, No. 22-

       170, 2023 WL 1431691, at *1 (2d Cir. Feb. 1, 2023).

       VI.   THE JURY’S FINDING THAT DEFENDANT ACTED UNDER
             COLOR OF LAW WAS SUPPORTED BY THE EVIDENCE

             As noted above (supra p.43), this Court’s evidentiary review is deferential to

       the jury’s verdict. The district court correctly concluded that the evidence supports


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       the jury’s finding that defendant acted under color of law as mayor. Add52-54.

       Maguire testified it was typical for Haitian politicians to use armed community-

       based groups like KOREGA to secure power through violence.                 RA334-358.

       Witnesses testified that (1) defendant commanded a KOREGA crew, including

       Hautefort and Villeme; (2) many of his crew, including Hautefort, were his mayoral

       staff; and (3) defendant ordered his crew to commit both attacks. RA385; RA413-

       419; RA426; RA487-496; RA502-504; RA526-527; RA567-571.

             Both attacks arose from incidents involving defendant’s abuse of his power

       as mayor. Witnesses testified that defendant fought with Ostanie over a city

       sanitation dispute and abused his power by arresting her, bringing her to a judge, and

       demanding that David leave. RA385-386; RA497-503; RA524-526; RA671-673.

       They also testified that defendant opposed the radio station because it was founded

       by an opposing party’s candidate and broadcast programs critical of him as mayor,

       so he tried to shut it down and destroy it. RA416-417; RA549-554; RA573-575;

       RA647-651; RA674-675; RA779. Based on this ample evidence, the jury could

       have found that defendant led the attacks in his capacity as mayor.

             Defendant points only to irrelevant facts not inconsistent with this finding.

       See Rodowicz, 279 F.3d at 42 (this Court must affirm unless evidence is “‘so strongly

       and overwhelmingly’ inconsistent with the verdicts”) (citations omitted). There is

       no requirement that plaintiffs be members of an opposing party. Contra Def.Br.26.



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       Defendant attacked David for opposing him as a human rights advocate, and Nissage

       and Juders because they were at a radio station critical of defendant and associated

       with the opposing party. Likewise, that defendant was petty and newly elected does

       not negate state action—pettiness and abuse of power often coincide. Contra

       Def.Br.26-28; see supra p.44. And the “mob of people” present at the attacks

       supports the verdict because, as defendant omits, that mob was principally composed

       of KOREGA members and defendant’s mayoral staff, all under his command.

       VII. THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION IN
            ADMITTING PROFESSOR MAGUIRE’S EXPERT TESTIMONY

             This Court affords “broad deference” to a district court’s decision to admit

       expert testimony. United States v. Jordan, 813 F.3d 442, 445 (1st Cir. 2016). It

       “will not second-guess such a discretionary determination unless it appears that the

       trial court ‘committed a meaningful error in judgment’” or “material error of law.”

       Id. (citations omitted). Defendant’s argument falls far short of this standard. The

       district court appropriately denied his challenge to Professor Maguire’s testimony as

       untimely (ECF 267, at 3), and that alone was sufficient. It also reasonably concluded

       Maguire’s testimony was reliable, relevant, and not unduly prejudicial. Id.; Add56-

       57. Either justifies its exercise of discretion to allow Maguire’s testimony.

             A.     Defendant’s Objection On The Eve Of Trial Was Untimely

             Plaintiffs disclosed Professor Maguire as an expert over a year before trial,

       yet defendant never deposed him and waited until three days before trial to try to


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       exclude Maguire’s testimony, offering no explanation for the delay. ECF 133; ECF

       210-1; RA255-257. The district court denied the motion as untimely, in addition to

       denying it on the merits. ECF 267, at 3. The court was well within its discretion to

       enforce timeliness necessary for trial management. Thus, this Court can affirm

       without reaching the merits. Feliciano-Hill v. Principi, 439 F.3d 18, 24 (1st Cir.

       2006) (objection untimely where proponent disclosed expert report five months

       before trial and opponent waited until trial to object).

             B.     Professor Maguire’s Testimony Was Reliable

             Regardless, the district court did not abuse its discretion in admitting

       Professor Maguire’s testimony. Maguire served as Senior Advisor on Haiti to the

       U.S. Department of State; trained diplomats to Haiti for the Foreign Service Institute;

       taught on Haiti as a professor at Georgetown University and George Washington

       University’s Elliot School of International Affairs; and visited Haiti over 125 times.

       RA262-264; RA329-334. His testimony was reliably based on (1) four decades of

       experience concerning political conditions in Haiti; (2) interviews with individuals

       and organizations in Haiti, and (3) documents including U.S., U.N., and NGO

       reports, press coverage, academic research, and deposition transcripts. RA265-267;

       RA335-336; RA354-358. These are sources “reasonably relied upon by experts in

       the particular field.” Fed. R. Evid. 703; Chavez v. Carranza, 559 F.3d 486, 497 (6th




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       Cir. 2009) (accepting reliance on “interviews, commission reports … documentary

       research, and field research”).

             Defendant provides no explanation or authority supporting his assertion that

       newspaper reports and contacts in Haiti are unreliable. Def.Br.34. Experts routinely

       rely on newspapers and conversations with sources on the ground. Chavez, 559 F.3d

       at 497 (“interviews … and newspaper articles are the types of data reasonably relied

       upon by social science experts”) (citing Katt v. City of N.Y., 151 F. Supp. 2d 313,

       356-57 (S.D.N.Y. 2001)); United States v. Kantengwa, 781 F.3d 545, 561-62 (1st

       Cir. 2015) (affirming admission of historical expert’s testimony synthesizing

       “conversations with people he knew in Butare,” interviews, and written sources).

       Maguire’s contacts included individual and organizational relationships he

       developed through decades of work in Haiti (RA265-266; RA336), and defendant

       identifies no rule requiring him to name those contacts, particularly where defendant

       declined to depose Maguire and has threatened witnesses’ safety (supra pp.10-11).

       Moreover, newspapers and contacts were only two of the many kinds of sources

       Maguire relied on—the rest of which defendant has not challenged.

             Additionally, it is irrelevant that Maguire never went to Les Irois and did not

       personally know of defendant’s ties to KOREGA. Contra Def.Br.32; see Daubert

       v. Merrell Dow Pharms., 509 U.S. 579, 592 (2009) (experts have “wide latitude to

       offer opinions, including those that are not based on firsthand knowledge or



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       observation”). Maguire did not testify to defendant’s ties to KOREGA—he testified

       about KOREGA’s characteristics as an armed community-based group, and fact

       witnesses connected KOREGA to defendant. See supra pp.4-5, 14.

             C.     Professor Maguire’s Testimony Was Relevant And Not Unfairly
                    Prejudicial

             Nor did the district court abuse its discretion in concluding that Maguire’s

       testimony provided relevant context for fact witnesses’ testimony and was not

       unfairly prejudicial. Add57. Witnesses testified that defendant commanded a

       KOREGA crew, and Maguire’s testimony about the role of armed community-based

       groups in Haiti helped the jury understand those facts by “providing context that

       might prove counter-intuitive to a layperson” familiar only with American rule of

       law. See United States v. Teganya, 997 F.3d 424, 430 (1st Cir. 2021).

             Defendant’s claim of unfair prejudice mischaracterizes Maguire’s testimony.

       Maguire never suggested defendant was guilty because he belonged to a particular

       party, so defendant’s analogies are inapt. Contra Def.Br.33-34. Maguire never

       testified about defendant at all—he provided context for understanding fact

       witnesses’ testimony about defendant.

       VIII. THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION IN
             DENYING REMITTITUR OF COMPENSATORY DAMAGES

             This Court reviews denial of remittitur for abuse of discretion and “will not

       upset a jury’s damage award unless it ‘exceeds any rational appraisal or estimate of



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       the damages that could be based on the evidence before the jury.’” Sánchez v. Foley,

       972 F.3d 1, 17 (1st Cir. 2020) (citation omitted). Defendant “bears a heavy burden

       of showing that an award is grossly excessive, inordinate, shocking to the conscience

       of the court, or so high that it would be a denial of justice to permit it to stand.” Id.

       (citation omitted). The district court did not abuse its discretion in denying remittitur

       of compensatory damages. Add58-61.

             The jury’s award of $1.75 million to David, $1.25 million to Nissandère, and

       $1.5 million to Juders was reasonable given their severe injuries, as well as adjusted

       to each plaintiffs’ harm. The jury heard overwhelming evidence about plaintiffs’

       physical and emotional suffering, including the murder of David’s brother, the loss

       of Nissage’s leg and Juders’s eye, Juders’s excruciating pain from shotgun pellets

       still embedded in his body, and plaintiffs’ separation from their families and ongoing

       fear for their lives. RA402; RA432-434; RA455-457; RA532-534; RA676-677;

       SA25. The award is comparable to other compensatory damages awards in TVPA

       cases involving similarly brutal abuses. E.g., Cabello, 402 F.3d at 1151 ($3 million);

       Chowdhury, 746 F.3d at 47 ($1.5 million); Xuncax, 886 F. Supp. at 199 ($3 million).

             Defendant fails to show that the damages shock the conscience.               First,

       defendant’s myopic focus on economic injuries ignores plaintiffs’ severe physical

       and emotional suffering, which defendant does not dispute. Def.Br.35-36. No

       economic evidence is required for such bodily injuries, whose value is “not



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       susceptible to proof by a dollar amount” and is instead determined by the jury’s

       fairness. Rodríguez-García v. Miranda-Marín, 610 F.3d 756, 773 (1st Cir. 2010)

       (citation omitted).

             Second, the amounts awarded in Haiti against defendant’s associates are

       irrelevant and do not dictate the value of plaintiffs’ suffering. Contra Def.Br.35. As

       explained above (supra pp.9-11), defendant and his associates interfered with the

       Haitian proceedings, where corruption and violence tainted the results. RA613-635.

             Finally, defendant mischaracterizes Concannon’s testimony.           Concannon

       testified accurately that plaintiffs had not received the Haitian award. RA809-810.

       He never suggested the judgment here would be uncollectible nor “implor[ed]” the

       jury to award a “totemic amount” to send a message. Contra Def.Br.35-36.

       IX.   THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION IN
             DENYING REMITTITUR OF PUNITIVE DAMAGES

             A.     Punitive Damages Are Available Under The TVPA

             Defendant’s two sentences challenging the availability of punitive damages

       (Def.Br.36) fail to preserve the argument. Morales-Tañon, 524 F.3d at 19 (“We

       have steadfastly deemed waived issues raised on appeal in a perfunctory manner, not

       accompanied by developed argumentation….”) (citation omitted). Regardless, the

       district court correctly concluded the TVPA allows punitive damages. Add61-62.

             Congress legislates against a common-law backdrop, which permits punitive

       damages where defendant’s conduct is “outrageous, because of the defendant’s evil


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       motive or his reckless indifference to the rights of others.” Restatement (Second) of

       Torts §908(2) (Am. L. Inst. 1979). The purpose of punitive damages is to punish

       defendants and deter such conduct. Id. §908(1). Torture and extrajudicial killing

       are undeniably “outrageous” and “evil.” Congress intended to deter such heinous

       human rights abuses and thus did not abrogate this common-law principle in the

       TVPA. S. Rep. 102-249, at 3; H.R. Rep. 102-367, at 2-3. The Ninth Circuit has

       stated that punitive damages are available under the TVPA. Ditullio v. Boehm, 662

       F.3d 1091, 1096 n.3 (9th Cir. 2011); see Smith v. Wade, 461 U.S. 30, 33-37 (1983)

       (similar logic holding punitive damages available under Section 1983).

             Courts have routinely allowed judgments awarding punitive damages on

       TVPA claims. E.g., Chowdhury, 746 F.3d at 47; Cabello, 402 F.3d at 1151;

       Constant, 354 F. App’x at 544; Doe v. Saravia, 348 F. Supp. 2d 1112, 1158 (E.D.

       Cal. 2004). In fact, in enacting the TVPA, Congress cited with approval the Second

       Circuit’s ATS decision in Filartiga, which on remand resulted in $5-million punitive

       damage awards for each plaintiff. Xuncax, 886 F. Supp. at 199 (citing Filartiga v.

       Pena-Irala, 577 F. Supp. 860, 867 (E.D.N.Y. 1984)).

             Defendant cites a single district court decision, which neither addresses the

       TVPA nor stands for the proposition defendant claims. Def.Br.36. That case stated

       punitive damages are not available against foreign states or their divisions, of which

       defendant is neither. Rimkus v. Islamic Republic of Iran, 575 F. Supp. 2d 181, 198-



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       99 (D.D.C. 2008). It nowhere suggests a clear-statement rule presuming punitive

       damages to be unavailable unless explicitly provided for in the statutory text. Such

       a rule would contravene precedents permitting punitive damages under statutes

       whose text is silent on the issue. E.g., Smith, 461 U.S. at 33-37 (Section 1983);

       Ditullio, 662 F.3d at 1096-98 (Trafficking Victims Protection Act).

             B.     The Jury’s Punitive Damages Award Was Not Grossly Excessive

             Defendant cursorily states the punitive damages were excessive, without

       addressing the required factors, so his argument is forfeited. Def.Br.36-37; Morales-

       Tañon, 524 F.3d at 19.

             Regardless, the district court did not abuse its discretion in denying remittitur.

       Add62-63. Courts assessing whether punitive damages are grossly excessive must

       consider “(1) the degree of reprehensibility of the defendant’s misconduct; (2) the

       disparity between the actual or potential harm suffered by the plaintiff and the

       punitive damages award; and (3) the difference between the punitive damages

       awarded by the jury and the civil penalties authorized or imposed in comparable

       cases.” State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 418 (2003). All

       three factors confirm the reasonableness of the award here.

             First, torture and extrajudicial killing are among the most reprehensible

       human rights abuses and international-law violations. It would be an understatement

       to say that “the harm caused was physical as opposed to economic,” “the tortious



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       conduct evinced an indifference to or a reckless disregard of the health or safety of

       others,” and “the harm was the result of intentional malice.” Id. at 419.

             Second, $11 million in punitive damages is roughly 2.5 times the total

       compensatory damages of $4.5 million. That is significantly less than the 4:1 ratio

       the Supreme Court has deemed generally acceptable. Id. at 425.

             Finally, $11 million (about $3.7 million per plaintiff) is comparable to other

       TVPA punitive damages awards. E.g., Findings of Fact and Conclusions of Law at

       13, Doe v. Constant, No. 04-cv-10108 (S.D.N.Y. Oct. 24, 2006), ECF 71, aff’d, 354

       F. App’x at 544 ($15 million); Amended Final Judgments, Arce v. Garcia, No. 99-

       cv-8364 (S.D. Fla. Aug. 1, 2002), ECF 257-259, aff’d, 434 F.3d at 1256 ($15

       million); Saravia, 384 F. Supp. 2d at 1159 ($5 million each).

                                         CONCLUSION

             This Court should affirm the judgment against defendant.




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       Dated: October 9, 2024                  Respectfully submitted,

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               ADDENDUM
        WITH STATUTORY EXCERPT
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                           ADDENDUM WITH STATUTORY EXCERPT

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       28 U.S.C. § 1350. Alien’s action for tort.

          The district courts shall have original jurisdiction of any civil action by an alien
          for a tort only, committed in violation of the law of nations or a treaty of the
          United States.

          (June 25, 1948, ch. 646, 62 Stat. 934.)

                           Statutory Notes and Related Subsidiaries
                                 TORTURE VICTIM PROTECTION
       Pub. L. 102–256, Mar. 12, 1992, 106 Stat. 73, provided that:
       “SECTION 1. SHORT TITLE.
             “This Act may be cited as the ‘Torture Victim Protection Act of 1991’.
       “SEC. 2. ESTABLISHMENT OF CIVIL ACTION.
             “(a) LIABILITY.—An individual who, under actual or apparent authority, or
             color of law, of any foreign nation—
                    “(1) subjects an individual to torture shall, in a civil action, be liable
                    for damages to that individual; or
                    “(2) subjects an individual to extrajudicial killing shall, in a civil
                    action, be liable for damages to the individual’s legal representative,
                    or to any person who may be a claimant in an action for wrongful
                    death.
             “(b) EXHAUSTION OF REMEDIES.—A court shall decline to hear a claim
             under this section if the claimant has not exhausted adequate and available
             remedies in the place in which the conduct giving rise to the claim occurred.
             “(c) STATUTE OF LIMITATIONS.—No action shall be maintained under this
             section unless it is commenced within 10 years after the cause of action
             arose.
       “SEC. 3. DEFINITIONS.
             “(a) EXTRAJUDICIAL KILLING.—For the purposes of this Act, the term
             ‘extrajudicial killing’ means a deliberated killing not authorized by a
             previous judgment pronounced by a regularly constituted court affording all


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            the judicial guarantees which are recognized as indispensable by civilized
            peoples. Such term, however, does not include any such killing that, under
            international law, is lawfully carried out under the authority of a foreign
            nation.
            “(b) TORTURE.—For the purposes of this Act—
                  “(1) the term ‘torture’ means any act, directed against an individual in
                  the offender’s custody or physical control, by which severe pain or
                  suffering (other than pain or suffering arising only from or inherent in,
                  or incidental to, lawful sanctions), whether physical or mental, is
                  intentionally inflicted on that individual for such purposes as
                  obtaining from that individual or a third person information or a
                  confession, punishing that individual for an act that individual or a
                  third person has committed or is suspected of having committed,
                  intimidating or coercing that individual or a third person, or for any
                  reason based on discrimination of any kind; and
                  “(2) mental pain or suffering refers to prolonged mental harm caused
                  by or resulting from—
                        “(A) the intentional infliction or threatened infliction of severe
                        physical pain or suffering;
                        “(B) the administration or application, or threatened
                        administration or application, of mind altering substances or
                        other procedures calculated to disrupt profoundly the senses or
                        the personality;
                        “(C) the threat of imminent death; or
                        “(D) the threat that another individual will imminently be
                        subjected to death, severe physical pain or suffering, or the
                        administration or application of mind altering substances or
                        other procedures calculated to disrupt profoundly the senses or
                        personality.”




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                             CERTIFICATE OF COMPLIANCE

             This brief complies with the type-volume requirements of Federal Rule of

       Appellate Procedure 32(a)(7)(B) because it contains 12,997 words, excluding those

       parts of the brief exempted by Rule 32(f).

             This brief complies with the typeface requirements of Rule 32(a)(5) and the

       type-style requirements of Rule 32(a)(6) because this answer has been prepared in a

       proportionally spaced typeface using Microsoft Office 365, in 14-point Times New

       Roman font.



       Dated: October 9, 2024                                 /s/ Diana L. Kim
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                                CERTIFICATE OF SERVICE

             I hereby certify that I electronically filed the foregoing with the Clerk of the

       Court for the United States Court of Appeals for the First Circuit by using the

       appellate CM/ECF system on October 9, 2024.

             I hereby certify that all participants in the case are registered CM/ECF users

       and that services will be accomplished by the appellate CM/ECF system.



       Dated: October 9, 2024                                   /s/ Diana L. Kim
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